EX. C

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

CASE NO. 6:10-CV-01045-ACC-GJK

REAL ESTATE INDUS'I`RY
SOLUTIONS, LLC,

Plaintiff/ Counter-Claim Defendant,
v.

CONCEPTS IN DATA MANAGEMENT
U.S. INC.,

Defendant/ Counter-Claim Plaintiff.

 

STlPULATED PROTECTIVE ORDER
l. PURPOSES AND LIMITATIONS
Disclosure and discovery activity in this action are likely to involve production of
confidential, proprietary, or private information for which special protection from public
disclosure and from use for any purpose other than prosecuting this litigation may be warranted.
Accordingly, the parties hereby stipulate to and petition the court to enter the following
Stipulated Protective Order. The parties acknowledge that this Order does not confer blanket
protections on all disclosures or responses to discovery and that the protection it affords from
public disclosure and use extends only to the limited information or items that are entitled to
confidential treatment under the applicable legal principles.
2. DEFINITIONS
2.1 Challenging PM: a Party or Non-Party that challenges the designation of

information or items under this Order.

EXHIBIT
Exhibit “A”

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2.2 "CONFIDENTIAL" Information or Items: information (regardless of how
it is generated, stored or maintained) or tangible things that qualify for protection under Federal
Rule of Civil Procedure 26(0).

2.3 M: Counsel of Record in this matter (as well as their support staff).

2.4 Desiggating Fa@_: a Party or Non-Party that designates information or
items that it produces in disclosures or in responses to discovery as "CONFIDENTIAL" or
"HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY.”

2.5 Disclosure or Discoverv Material: all items or information, regardless of
the medium or manner in which it is generated, stored, or maintained (including, among other
things, testimony, transcripts, and tangible things), that are produced or generated in disclosures
or responses to discovery in this matter.

2.6 M: a person with specialized knowledge or experience in a matter
pertinent to the litigation who (l) has been retained by a Party or its counsel to serve as an expert
witness or as a consultant in this action, (2) is not a past or current employee of a Party or of a
Party's competitor, and (3) at the time of retention, is not anticipated to become an employee of a
Party or of a Party's competitor,

2.7 "HIGHLY CONFIDENTlAL - ATTORNEYS' EYES ONLY" Infonnation
M: extremely sensitive "Confidential Infonnation or Items," disclosure of which to another
Party or Non-Party would create a substantial risk of serious harm that could not be avoided by
less restrictive means.

2.8 Non-Pag: any natural person, partnership, corporation, association, or

other legal entity not named as a Party to this action,

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2.9 Counsel of Record: attorneys who are not employees of a party to this
action but are retained to represent or advise a party to this action and have appeared in this
action on behalf of that party or are affiliated with a law finn which has appeared on behalf of
that party.

2.10 PM: any party to this action, including all of its officers, directors,
employees, consultants, retained experts, and Counsel of Record (and their support staffs).

2.11 Producing PU: a Party or Non-Party that produces Disclosure or
Discovery Material in this action,

2.12 Professional Vendors: persons or entities that provide litigation support
services (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and
organizing, storing, or retrieving data in any form or medium) and their employees and
subcontractors

2.13 Protected Material: any Disclosure or Discovery Material that is

designated as "CONFlDENTIAL," or as "HIGHLY CONFIDENTIAL - ATTORNEYS' EYES

ONLY."
2.14 Receiving PM: a Party that receives Disclosure or Discovery Material
from a Producing Party.
3- M

The protections conferred by this Stipulation and Order cover not only Protected
Material (as defined above), but also (l) any information copied or extracted from Protected
Material; (2) all copies, excerpts, summaries, or compilations of Protected Material; and (3) any
testimony, conversations, or presentations by Parties or their Counsel that might reveal Protected

Material. However, the protections conferred by this Stipulation and 0rder do not cover the

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following information: (a) any information that is in the public domain at the time of disclosure
to a Receiving Party or becomes part of the public domain after its disclosure to a Receiving
Party as a result of publication not involving a violation of this Order, including becoming part
of the public record through trial or otherwise; and (b) any information known to the Receiving
Party prior to the disclosure or obtained by the Receiving Party after the disclosure from a source
who obtained the information lawfully and under no obligation of confidentiality to the
Designating Party. Any use of Protected Material at trial shall be governed by a separate
agreement or order.
4. DURATION

Even after final disposition of this litigation, the confidentiality obligations
imposed by this Order shall remain in effect until a Designating Party agrees otherwise in writing
or a court order otherwise directs. Final disposition shall be deemed to be the later of (l)
dismissal of all claims and defenses in this action, with or without prejudice; and (2) final
judgment herein after the completion and exhaustion of all appeals, rehearings, remands, trials,
or reviews of this action, including the time limits for filing any motions or applications for
extension of time pursuant to applicable law.

5. DESIGNATING PROTECTED MATERIAL

5.1 Exercise of Restraint and Care in Designating Material for Protection. Each
Party or Non-Party that designates information or items for protection under this Order must take
care to limit any such designation to specific material that qualifies under the appropriate
standards. To the extent it is practical to do so, the Designating Party must designate for

protection only those parts of material, documents, items, or oral or written communications that

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qualify - so that other portions of the material, documents, items, or communications for which
protection is not warranted are not swept unjustifiany within the ambit of this Order.

Mass, indiscriminate, or routinized designations are prohibited Designations that
are shown to be clearly unjustified or that have been made for an improper purpose (e.g., to
unnecessarily encumber or retard the case development process or to impose unnecessary
expenses and burdens on other parties) expose the Designating Party to sanctions.

If it comes to a Designating Party's attention that information or items that it
designated for protection do not qualify for protection at all or do not qualify for the level of
protection initially asserted, that Designating Party must promptly notify all other parties that it
is withdrawing the mistaken designation

The Parties recognize that, while each party shall make a diligent effort to identify
and designate all Protected Material, given the volume and nature of material being exchanged,
there is a possibility that certain material may be produced inadvertently without such a
designation. The Parties agree and acknowledge that such inadvertent disclosure shall not
constitute a waiver of any protection afforded to those items designated as Protected Material
under the terms of this Order. The Producing Party, within ten (10) days of discovering an
inadvertent failure to designate discovery material as Protected Material, shall notify the
Receiving Party in writing of the inadvertent failure to designate, and any such material shall be
treated as Protected Material in accordance with the terms of this Protective Order.

5.2 Manner and Timing of Designations. Except as otherwise provided in this
Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,
Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so

designated before the material is disclosed or produced

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Designation in conformity with this Order requires:

(a) for information in documentarv form (e.g., paper or electronic documents, but
excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing
Party affix the legend "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL - ATTORNEYS'
EYES ONLY" to each page that contains protected material. If only a portion or portions of the
material on a page qualifies for protection, the Producing Party also must clearly identify the
protected portion(s) (e.g., by making appropriate markings in the margins) and must specify, for
each portion, the level of protection being asserted.

A Party or Non-Party that makes original documents or materials available for
inspection need not designate them for protection until after the inspecting Party has indicated
which material it would like copied and produced. During the inspection and before the
designation, all of the material made available for inspection shall be deemed "HIGHLY
CONFIDENTIAL - ATTORNEYS' EYES ONLY." After the inspecting Party has identified the
documents it wants copied and produced, the Producing Party must determine which documents,
or portions thereof, qualify for protection under this Order. Then, before producing the specified
documents, the Producing Party must affix the appropriate legend ("CONFIDENTIAL" or
"HIGHLY CONFIDENTlAL - ATTORNEYS' EYES ONLY") to each page that contains
Protected Material. If only a portion or portions of the material on a page qualifies for protection,
the Producing Party also must clearly identify the protected portion(s) (e.g., by making
appropriate markings in the margins) and must specify, for each portion, the level of protection
being asserted.

(b) for testimony given in deposition or in other pretrial or trial proceedings, that

the Designating Party identify on the record, before the close of the deposition, hearing, or other

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proceeding, all protected testimony and specify the level of protection being asserted When it is
impractical to identify separately each portion of testimony that is entitled to protection and it
appears that substantial portions of the testimony may qualify for protection, the Designating
Party may invoke on the record (before the deposition, hearing, or other proceeding is
concluded) a right to have up to twenty-one (21) days to identify the specific portions of the
testimony as to which protection is sought and to specify the level of protection being asserted
Only those portions of the testimony that are appropriately designated for protection within the
twenty-one (21) days shall be covered by the provisions of this Stipulated Protective Order.
Alternatively, a Designating Party may specify, at the deposition or up to twenty-one (21) days
afterwards if that period is properly invoked, that the entire transcript shall be treated as
"CONFIDENTIAL" or "HIGHLY CONFIDENTIAL -ATTORNEYS' EYES ONLY."

Parties shall give the other parties notice if they reasonably expect a deposition,
hearing or other proceeding to include Protected Material so that the other parties can ensure that
only authorized individuals who have signed the "Acknowledgment and Agreement to Be
Boun " (Exhibit A) are present at those proceedings The use of a document as an exhibit at a
deposition shall not in any way affect its designation as "CONFIDENTIAL” or "HIGHLY
CONFIDENTIAL - ATTORNEYS' EYES ONL ."

Transcripts containing Protected Material shall have an‘obvious legend on the title
page that the transcript contains Protected Material, and the title page shall be followed by a list
of all pages (including line numbers as appropriate) that have been designated as Protected
Material and the level of protection being asserted by the Designating Party. The Designating
Party shall inform the court reporter of these requirements Any transcript that is prepared before

the expiration of a 21-day period for designation shall be treated during that period as if it had

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been designated "HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY" in its entirety
unless otherwise agreed After the expiration of that period, the transcript shall be treated only as
actually designated

(c) for information produced in some form other than documentary and for any
other tangible items, that the Producing Party affix in a prominent place on the exterior of the
container or containers in which the information or item is stored the legend "CONFIDENTIAL"
or "HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY." If only a portion or portions
of the information or item warrant protection, the Producing Party, to the extent practicable, shall
identify the protected portion(s) and specify the level of protection being asserted

5.3 Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to
designate qualified information or items does not, standing alone, waive the Designating Party's
right to secure protection under this Order for such material Upon timely correction of a
designation, the Receiving Party must make reasonable efforts to assure that the material is
treated in accordance with the provisions of this Order.

6. CHALLENGING CONFIDENTIALITY DESIGNATIONS

6.1 Timing of Challenges. Any Party or Non-Party may challenge a
designation of confidentiality at any time. Unless a prompt challenge to a Designating Party's
confidentiality designation is necessary to avoid foreseeable, substantial unfairness, unnecessary
economic burdens, or a significant disruption or delay of the litigation, a Party does not waive its
right to challenge a confidentiality designation by electing not to mount a challenge promptly
after the original designation is disclosed

6.2 Meet and Confer. The Challenging Party shall initiate the dispute

resolution process by providing written notice of each designation it is challenging and

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describing the basis for each challenge To avoid ambiguity as to whether a challenge has been
made, the written notice must recite that the challenge to confidentiality is being made in
accordance with this specific paragraph of the Protective Order. The parties shall attempt to
resolve each challenge in good faith and must begin the process by conferring directly (in voice
to voice dialogue; other forms of communication are not sufficient) within fourteen (14) days of
the date of service of notice. In conferring, the Challenging Party must explain the basis for its
belief that the confidentiality designation was not proper and must give the Designating Party an
opportunity to review the designated material, to reconsider the circumstances and, if no change
in designation is offered, to explain the basis for the chosen designation A Challenging Party
may proceed to the next stage of the challenge process only if it has engaged in this meet and
confer process first or establishes that the Designating Party is unwilling to participate in the
meet and confer process in a timely manner.

6.3 Judicial Intervention. If the Parties cannot resolve a challenge without court
intervention, the Challenging Party shall file and serve a motion to compel challenging a
confidentiality designation at any time if there is good cause for doing so, including a challenge
to the designation of a deposition transcript or any portions thereof Any motion brought
pursuant to this provision must be accompanied by a competent declaration affirming that the
movant has complied with the meet and confer requirements imposed by the preceding
paragraph

The burden of persuasion in any such challenge proceeding shall be on the
Designating Party. Frivolous challenges and those made for an improper purpose (e.g., to harass
or impose unnecessary expenses and burdens on other parties) may expose the Challenging Party

to sanctions

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7. ACCESS TO AND USE OF PROTECTED MATERIAL

7.l Basic Principles. A Receiving Party may use Protected Material that is
disclosed or produced by another Party or by a Non-Party in connection with this case only for
prosecuting, defending, or attempting to settle this litigation, Such Protected Material may be
disclosed only to the categories of persons and under the conditions described in this Order.
When the litigation has been tenninated, a Receiving Party must comply with the provisions of
section 15 below (FINAL DISPOSITION).

Protected Material must be stored and maintained by a Receiving Party at a
location and in a secure manner that ensures that access is limited to the persons authorized
under this Order.

7.2 Disclosure of "CONFIDENTIAL" Information or Items. Unless otherwise
ordered by the court or permitted in writing by the Designating Party, a Receiving Party may
disclose any information or item designated "CONFIDENTIAL" only to:

(a) the Receiving Party's Counsel of Record in this action, as well as employees of
said Counsel of Record to Whom it is reasonably necessary to disclose the information for this
litigation;

(b) the officers, directors, and employees of the Receiving Party to whom
disclosure is reasonably necessary for this litigation and who have signed the "Acknowledgment
and Agreement to Be Bound" (Exhibit A);

(c) Experts (as defined in this Order) of the Receiving Party to whom
disclosure is reasonably necessary for this litigation and who have signed the "Acknowledgment
and Agreement to Be Bound" (Exhibit A);

(d) the court and its personnel;

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(e) court reporters and their staff, professional jury or trial consultants, and
Professional Vendors to whom disclosure is reasonably necessary for this litigation and who
have Signed the "Acknowledgment and Agreement to Be Bound" (Exhibit A);

(f) during their depositions, witnesses in the action to whom disclosure is
reasonably necessary and who have signed the "Acknowledgment and Agreement to Be Bound"
(Exhibit A), unless otherwise agreed by the Designating Party or ordered by the court. Pages of
transcribed deposition testimony or exhibits to depositions that reveal Protected Material must be
separately bound by the court reporter and may not be disclosed to anyone except as permitted
under this Stipulated Protective Order.

(g) the author or recipient of a document containing the information or a
custodian or other person who otherwise possessed or knew the information

7.3 Disclosure of "HIGHLY CONFH)ENTIAL - ATTORNEYS' EYES ONL "
Information or Items. Unless otherwise ordered by the court or permitted in writing by the
Designating Party, a Receiving Party may only disclose information or item designated
"HIGHLY CONFIDENTIAL -ATTORNEYS' EYES ONLY" to:

(a) the Receiving Party's Counsel of Record in this action, as well as employees of
said Counsel of Record to whom it is reasonably necessary to disclose the information for this
litigation;

(b) Experts of the Receiving Party (l) to whom disclosure is reasonably
necessary for this litigation, (2) who have signed the "Acknowledgment and Agreement to Be
Bound" (Exhibit A), and (3) as to whom the procedures set forth in paragraph 7.4(a)(2), below,
have been followed;

(c) the court and its personnel;

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(d) court reporters and their staff, professional jury or trial consultants, and
Professional Vendors to whom disclosure is reasonably necessary for this litigation and who
have signed the "Acknowledgment and Agreement to Be Bound" (Exhibit A); and

(e) the author or recipient of a document containing the information or a

f custodian or other person who otherwise possessed or knew the information

7.4 Procedures for Approving or Obiecting to Disclosure of "HIGHLY
CONFIDENTIAL - ATTORNEYS' EYES ONLY' Information or Items to Designated House
Counsel or Experts.

(a)(l) Unless otherwise ordered by the court or agreed to in writing by the
Designating Party, a Party that seeks to disclose to an Expert (as defined in this Order) any
information or item that has been designated "HIGHLY CONFIDENTIAL - ATTORNEYS'
EYES ONLY" pursuant to paragraph 7.3(b) first must make a written request to the Designating
Party that (l) identifies the general categories of "HIGHLY CONFIDENTIAL - ATTORNEYS'
EYES ONLY" information that the Receiving Party seeks permission to disclose to the Expert,
(2) sets forth the full name of the Expert and the city and state of his or her primary residence,
(3) attaches a copy of the Expert's current resume, (4) identifies the Expert's current employer(s),
(5) identifies each person or entity from whom the Expert has received compensation or funding
for work in his or her areas of expertise or to whom the expert has provided professional
services, including in connection with a litigation, at any time during the preceding five years,~
and (6) identifies (by name and number of the case, filing date, and location of court) any
litigation in connection with which the Expert has offered expert testimony, including through a

declaration, report, or testimony at a deposition or trial, during the preceding five years.

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(b) A Party that makes a request and provides the information specified in the
preceding paragraph may disclose the subject Protected Material to the identified Expert unless,
within fourteen (14) days of delivering the request, the Party receives a written objection from
the Designating Party. Any such objection must set forth in detail the grounds on which it is
based

(c) A Party that receives a timely written objection must meet and confer with
the Designating Party (through direct voice to voice dialogue) to try to resolve the matter by
agreement within seven (7) days of the written objection If no agreement is reached, the Party
seeking to make the disclosure to the Expert may file a motion seeking permission from the court
to do so. Any such motion must describe the circumstances with specificity, set forth in detail the
reasons why the disclosure to the Expert is reasonably necessary, assess the risk of harm that the
disclosure would entail, and suggest any additional means that could be used to reduce that risk.
In addition, any such motion must be accompanied by a competent declaration describing the
parties’ efforts to resolve the matter by agreement (i.e., the extent and the content of the meet and
confer discussions) and setting forth the reasons advanced by the Designating Party for its refusal
to approve the disclosure.

In any such proceeding, the Party opposing disclosure to the Expert shall bear the
burden of proving that the risk of harm that the disclosure would entail (under the safeguards

proposed) outweighs the Receiving Party's need to disclose the Protected Material to its Expert.

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8. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
OTHER LITIGATION

If a Party is served with a subpoena or a court order issued in other litigation that
compels disclosure of any information or items designated in this action as "CONFIDENTIAL"
or "HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONL " that Party must:

(a) promptly notify in writing the Designating Party. Such notification shall
include a copy of the subpoena or court order;

(b) promptly notify in writing the party who caused the subpoena or order to
issue the other litigation that some or all of the material covered by the subpoena or order is
subject to this Protective ()rder. Such notification shall include a copy of this Stipulated
Protective Order; and

(c) cooperate with respect to all reasonable procedures sought to be pursued by
the Designating Party whose Protected Material may be affected

If the Designating Party timely seeks a protective order, the Party served with the
subpoena or court order shall not produce any information designated in this action as
"CONFlDENTIAL" or "HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY” before a
determination by the court from which the subpoena or order issued, unless the Party has
obtained the Designating Party's permission The Designating Party shall bear the burden and
expense of Seeking protection in that court of its confidential material - and nothing in these
provisions should be construed as authorizing or encouraging a Receiving Party in this action to

disobey a lawful directive from another court.

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9. A NON-PARTY'S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN
THIS LITIGATION
(a) The terms of this Order are applicable to information produced by a Non-
Party in this action and designated as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL -
ATTORNEYS' EYES ONLY." Such information produced by Non-Parties in connection with
this litigation is protected by the remedies and relief provided by this Order. Nothing in these
provisions should be construed as prohibiting a Non-Party from seeking additional protections
(b) In the event that a Party is required, by a valid discovery request, to
produce a Non-Party's confidential information in its possession, and the Party is subject to an
agreement with the Non-Party not to produce the Non-Party's confidential information, then the
Party shall:
l. promptly notify in writing the Requesting Party and the Non-Party
that some or all of the information requested is subject to a confidentiality agreement with a
Non-Party;
2. promptly provide the Non-Party with a copy of the Stipulated
Protective Order in this litigation, the relevant discovery request(s), and a reasonably specific
description of the information requested; and
3. make the information requested available for inspection by the
Non-Party.
(c) If the Non-Party fails to object or seek a protective order from this court
within fourteen (l4) days of receiving the notice and accompanying information the Receiving
Party may produce the Non-Party’s confidential information responsive to the discovery request.

If the Non-Party timely seeks a protective order, the Receiving Party shall not produce any

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information in its possession or control that is subject to the confidentiality agreement with the
Non-Party before a determination by the court. Absent a court order to the contrary, the Non-
Party shall bear the burden and expense of seeking protection in this court of its Protected
Material.

10. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
Protected Material to any person or in any circumstance not authorized under this Stipulated
Protective ()rder, the Receiving Party must immediately (a) notify in writing the Designating
Party of the unauthorized disclosures (b) use its best efforts to retrieve all unauthorized copies of
the Protected Material, (c) inform the person or persons to whom unauthorized disclosures were
made of all the terms of this Order, and (d) request such person or persons to execute the
"Acknowledgment and Agreement to Be Bound" that is attached hereto as Exhibit A.

ll. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
PROTECTED MA'I'ERIAL

The Parties recognize that, while each party shall make a diligent effort to identify
and withhold from production any document, material or electronic data that is privileged or
nonresponsive, but given the volume and nature of material being exchanged, there is a
possibility that certain material may be produced inadvertently.

The Parties acknowledge that such inadvertent production shall not constitute a
waiver, either in whole or in part, of any attorney-client privilege or other protection, and that the
obligations of the Receiving Parties are those set forth in Federal Rule of Civil Procedure
26(b)(5)(B). This provision is not intended to modify whatever procedure may be established in

an e-discovery order that provides for production without prior privilege review. Pursuant to

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Federal Rule of Evidence 502(d) and (e), insofar as the parties reach an agreement on the effect
of disclosure of a communication or information covered by the attorney-client privilege or work
product protection, the parties may incorporate their agreement in the stipulated protective order
submitted to the court.

The Receiving Party shall have the right to challenge the assertion of privilege or
objection and request an order denying such privilege or objection In the event that the
Receiving Party seeks to challenge the claim of privilege or objection, the Receiving Party’s
attorney shall ensure that the inadvertent disclosure is maintained in accordance with Federal
Rule of Civil Procedure 26(b)(5)(B) until an order is entered resolving the claim or objection in
connection with the inadvertent disclosure

12. MISCELLANEOUS

12.1 Right to Further Relief. Nothing in this Order abridges the right of any
person to seek its modification by the court in the future.

12.2 Right to Assert Other Obiections. By stipulating to the entry of this
Protective Order no Party waives any right it otherwise would have to object to disclosing or
producingany information or item on any ground not addressed in this Stipulated Protective
Order. Similarly, no Party waives any right to object on any ground to use in evidence of any of
the material covered by this Protective Order.

12.3 Filing Protected Material. Without written permission from the Designating
Party or a court order secured after appropriate notice to all interested persons, a Party may not
file in the public record in this action any Protected Material. A Party that seeks to file under seal

any Protected Material must comply with Local Rule 5.4. Protected Material may only be filed

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under seal pursuant to a court order authorizing the sealing of the specific Protected Material at
issue.
13. FINAL DISPOSITION

Within sixty (60) days after the final disposition of this action, as defined in
paragraph 4, each Receiving Party must return all Protected Material to the Producing Party or
destroy such material. As used in this subdivision "all Protected Material" includes all copies,
abstracts, compilations, summaries, and any other format reproducing or capturing any of the
Protected Material. Whether the Protected Material is returned or destroyed, the Receiving Party
must submit a written certification to the Producing Party (and, if not the same person or entity,
to the Designating Party) by the sixty (60) day deadline that (1) identifies (by category, where
appropriate) all the Protected Material that Was returned or destroyed and (2) affirms that the
Receiving Party has not retained any copies, abstracts, compilations, summaries or any other
format reproducing or capturing any of the Protected Material. Notwithstanding this provision,
Counsel are entitled to retain an archival copy of all pleadings, motion papers, trial, deposition,
and hearing transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
reports, attorney work product, and consultant and expert work product, even if such materials
contain Protected Material. Any such archival copies that contain or constitute Protected
Material remain subject to this Protective Order as set forth in Section 4 (DURATION).

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IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

Dated: April 13, 2011.

ARNSTEIN & LEHR LLP
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PURSUANT TO STIPULATION, IT IS SO ORDERED.

Done and Ordered in Chambers on this day of April, 2011.

Copies furnished to:
Counsel of record

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U.S. DISTRICT COURT JUDGE

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EXHIBIT A
ACKNOWLEDGMENT AND AGREEMENT 'l`O BE BOUND

I, [print or type full name], of [print or type full
address], declare under penalty of perjury that l have read in its entirety and understand the
Stipulated Protective Order that was issued by the United States District Court for the Southern
District of Florida on [date] in the case of REAL ESTATE INDUSTRY SOLUTION, LLC V.
CONCEPTS IN DATA MNAGE.MENT U.S., INC., pending in the United States Southern
District Court of the Middle District of Florida, Case No.6:lO-CV-01045-ACC-GJK. I agree to
comply with and to be bound by all the terms of this Stipulated Protective Order and I
understand and acknowledge that failure to so comply could expose me to sanctions and
punishment in the nature of contempt. I solemnly promise that 1 will not disclose in any manner
any information or item that is subject to this Stipulated Protective Order to any person or entity
except in strict compliance with the provisions of this Order.

I further agree to submit to the jurisdiction of the United States District Court for the
Middle District of Florida for the purpose of enforcing the terms of this Stipulated Protective
Order, even if such enforcement proceedings occur after termination of this action.

I hereby appoint [print or type full name] of
[print or type full address and telephone number] as my Florida agent for service of process in
connection with this action or any proceedings related to enforcement of this Stipulated
Protective Order.

Date:

 

City and State where sworn and signed:

 

Printed name:

 

[printed name]

Signature:

 

[signature]

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